            Case 8:19-cv-01726-GJH Document 1 Filed 06/12/19 Page 1 of 9



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 SOUTHERN DIVISION

CAITLIN CUNNINGHAM                             *
18120 Ivy Lane                                 *
Olney, MD 20832                                *
                                               *
               Plaintiff                       *
                                               *              COMPLAINT
       v.                                      *
                                               *              JURY TRIAL DEMANDED
MUSE PAINTBAR, LLC                             *
329 Greenwich Street                           *
New York, NY 10013                             *
                                               *
Serve on:                                      *
                                               *
       The Morris Law Firm, LLC                *
       4845 Rugby Ave, Suite 302               *
       Bethesda, MD 20817                      *
                                               *
               Defendant.                      *


                           ***************************************
                                 PRELIMINARY STATEMENT

       1.      Plaintiff CAITLIN CUNNINGHAM (“Cunningham”) is a deaf individual with a

passion for the arts who enjoys taking art classes. MUSE PAINTBAR, LLC (“Defendant”)

offers painting classes open to the public. Cunningham requested that Defendant provide

qualified sign language interpreters for a painting class so that she could fully participate in and

benefit from attending the class. Defendant refused to provide qualified sign language

interpreters. As a result of Defendant’s refusal to provide qualified sign language interpreters for

classes, Cunningham is unable to follow class instruction and benefit fully and equally from

attending art classes. Defendant’s conduct violates Title III of the Americans with Disabilities

Act, 42 U.S.C. §§ 12181, et seq., and Section 504 of the Rehabilitation Act, 29 U.S.C. § 794.



                                                   1
            Case 8:19-cv-01726-GJH Document 1 Filed 06/12/19 Page 2 of 9



Cunningham brings this Complaint to compel Defendant to cease unlawful discriminatory

practices and implement policies and procedures that will ensure effective communication, full

and equal enjoyment of all that Defendant offers members of the public, and an equal

opportunity to participate in and benefit from Defendant’s events that are open to the public.

Cunningham seeks declaratory and injunctive relief as well as damages, reasonable attorneys’

fees, and costs.

                                         JURISDICTION

       2.      This Court has original jurisdiction over this action pursuant to 28 U.S.C. §§ 1331

and 1343.

       3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because (i)

Defendant has sufficient contacts within this District to subject it to personal jurisdiction at the

time this action is commenced; and (ii) the acts and omissions giving rise to this Complaint

occurred and will continue to occur within this District.

                                              PARTIES

       4.      Caitlin Cunningham resides at 18120 Ivy Lane, Olney, MD 20832.

       5.      Defendant Muse Paintbar, LLC is headquartered at 329 Greenwich Street, New

York, NY 10013. Defendant has a location in Gaithersburg, Maryland where Plaintiff desires to

take paint classes. Defendant’s service agent is the Morris Law Firm, LLC, 4845 Rugby

Avenue, Suite 302, Bethesda, MD 20817.

                                   FACTUAL ALLEGATIONS

       6.      Defendant is a place of public accommodation that offers courses and cultural

programming to the public and is subject to Title III of the Americans with Disabilities Act.




                                                  2
             Case 8:19-cv-01726-GJH Document 1 Filed 06/12/19 Page 3 of 9



        7.      Upon information and belief, Defendant is a recipient of federal financial

assistance from the Small Business Administration and is therefore subject to Section 504 of the

Rehabilitation Act.

        8.      Cunningham is deaf.

        9.      Cunningham is substantially limited in the major life activities of hearing and

speaking.

        10.     Cunningham’s primary means of communication is American Sign Language.

        11.     Because Cunningham is deaf, qualified sign language interpreters are necessary

for her to understand class instruction and class dialogue and have an opportunity equal to that of

hearing classmates to interact with instructors and classmates.

        12.     In 2016 and 2017, Cunningham requested qualified sign language interpreters for

Muse Paintbar art classes.

        13.     Despite Defendant’s refusal to provide a qualified sign language interpreter,

Cunningham wanted to take art classes.

        14.     Cunningham tried attending the classes without a qualified sign language

interpreter.

        15.     However, without qualified sign language interpreters, Cunningham was not able

to understand the class instructors or the class dialogue. She felt lost and confused.

        16.     In early 2018, Cunningham contacted Defendant to again request qualified sign

language interpreters for a class on or about February 21, 2018.

        17.     Defendant provided a qualified sign language interpreter for this class.

        18.     With a qualified interpreter present, Cunningham was able to understand the class

instructor and participate fully and equally in class dialogue.




                                                  3
           Case 8:19-cv-01726-GJH Document 1 Filed 06/12/19 Page 4 of 9



        19.     On or about September 26, 2018, Cunningham registered for a Muse Paintbar

class to take place on October 11, 2018. When registering for the class, Cunningham requested a

qualified sign language interpreter.

        20.     On or about October 8, 2018, Cunningham contacted Defendant regarding the

status of her request for qualified sign language interpreters.

        21.     Defendant stated that it would not be providing qualified sign language

interpreters.

        22.     As a result of Defendant’s refusal to provide qualified sign language interpreters,

Cunningham could not participate in the class. Cunningham could not face the humiliation and

embarrassment of again attending a class where she did not understand the class instructor, the

class dialogue, or what she was supposed to do in class.

        23.     Cunningham continues to be interested in attending Defendant’s courses that are

open to the public but will not have full and equal enjoyment unless Defendant provides

qualified sign language interpreters for the classes.

        24.     On or about November 30, 2018, the National Association of the Deaf sent a letter

to Defendant requesting that Defendant provide qualified sign language interpreters to ensure

that Cunningham has full and equal access to the class instruction that Defendant provides

members of the public.

        25.     Defendant never responded to the letter from the National Association of the

Deaf.

        26.     As a result of Defendant’s failure to provide qualified sign language interpreters

for the classes, Cunningham is and continues to be deprived of an opportunity equal to that of

other patrons to the full and equal enjoyment of Defendant’s classes.




                                                  4
          Case 8:19-cv-01726-GJH Document 1 Filed 06/12/19 Page 5 of 9



       27.     Cunningham has suffered emotional distress, including frustration, humiliation,

and mental anguish.

       28.     Cunningham continues to be interested in events that Defendant advertises and

will attend such events if and when qualified sign language interpreters are provided.

        COUNT I: TITLE III OF THE AMERICANS WITH DISABILITIES ACT

       29.     Cunningham repeats and realleges all paragraphs in this Complaint in support of

this claim.

       30.     Cunningham is substantially limited in the major life activity of hearing, and is

therefore an individual with a disability within the meaning of the Americans with Disabilities

Act (“ADA”), 42 U.S.C. § 12102(2).

       31.     Defendant owns, leases, and/or operates a place of public accommodation as

defined under Title III of the ADA, 42 U.S.C. § 12181(7)(F).

       32.     Title III of the ADA prohibits discrimination on the basis of disability in “the full

and equal enjoyment of the goods, services, facilities, privileges, advantages, or accommodations

of any places of public accommodations . . . ” 42 U.S.C. § 12182(a).

       33.     Pursuant to Title III of the ADA and its implementing regulations, a public

accommodation cannot deny participation or offer an unequal or separate benefit to individuals

with disabilities. 42 U.S.C. § 12182(b)(1)(A) and (B); 28 C.F.R. §§ 36.202; 36.203.

       34.     Pursuant to Title III of the ADA and its implementing regulations, a public

accommodation must make reasonable modifications to its policies, practices, or procedures,

when necessary to ensure full and equal access for people with disabilities. 42 U.S.C.

§ 12182(b)(2)(A)(ii); 28 C.F.R. § 36.302(a).




                                                 5
          Case 8:19-cv-01726-GJH Document 1 Filed 06/12/19 Page 6 of 9



       35.      Pursuant to Title III of the ADA and its implementing regulations, a public

accommodation shall furnish appropriate auxiliary aids and services to ensure effective

communication with individual with disabilities. 42 U.S.C. § 12182(b)(2)(A)(iii); 28 C.F.R. §

36.303(b)(1).

       36.      Defendant has and continues to discriminate against Cunningham on the basis of

disability by denying her full and equal enjoyment of the services, programs, and benefits the

Defendant offers to other individuals, and by refusing to provide auxiliary aids and services or

reasonably modify its policies, practices, or procedures, in violation of Title III of the ADA.

       37.      Cunningham has been and continues to be harmed as the result of Defendant’s

discrimination and has suffered humiliation, embarrassment and exclusion from a cultural

experience open to others.

                COUNT II: SECTION 504 OF THE REHABILITATION ACT

       38.      Cunningham repeats and realleges all paragraphs in this Complaint in support of

this claim.

       39.      Plaintiff is a qualified individual with a disability.

       40.      Defendant is a recipient of federal financial assistance.

       41.      Defendant has intentionally discriminated against the Plaintiff on the basis of her

disability by denying Plaintiff the auxiliary aids and services necessary to ensure effective

communication between Plaintiff and Defendant, equal access, and an equal opportunity to

participate in and benefit from Defendant’s classes in violation of section 504 of the

Rehabilitation Act, 29 U.S.C. § 794.

       42.      As a result of Defendant’s actions, Cunningham has been injured and suffered

emotional pain, suffering, mental anguish, and other nonpecuniary losses.




                                                   6
          Case 8:19-cv-01726-GJH Document 1 Filed 06/12/19 Page 7 of 9



       43.     Defendant’s policies and practices do not ensure effective communication and

therefore leave Cunningham experiencing ongoing harm as the result of her inability to fully

participate in and benefit from attending Defendant’s classes.

                                             RELIEF

   WHEREFORE, Plaintiff Caitlin Cunningham respectfully requests that this Court provide

the following relief:

   (a) Issue a declaration that Defendant’s policies, procedures, and practices have subjected

       Plaintiff to discrimination in violation of Title III of the Americans with Disabilities Act

       and Section 504 of the Rehabilitation Act;

   (b) Enjoin Defendant from implementing or enforcing any policy, procedure, or practice that

       denies individuals who are deaf, such as Cunningham, full and equal enjoyment and an

       opportunity equal to that of hearing individuals to participate in and benefit from

       Defendant’s programs, activities, and services regardless of disability;

   (c) Order Defendant to develop and comply with written policies, procedures, and practices

       to ensure that Defendant does not discriminate in the future against Cunningham and

       other similarly situated individuals who are deaf;

   (d) Order Defendant to provide qualified sign language interpreters to ensure effective

       communication with Cunningham during Defendant’s classes and all other events open to

       the public;

   (e) Order Defendant to train all representatives and employees about Cunningham’s rights

       and the rights of individuals who are deaf, as well as provide training on Defendant’s

       policies and procedures;




                                                 7
      Case 8:19-cv-01726-GJH Document 1 Filed 06/12/19 Page 8 of 9



(f) Order Defendant to list on its website(s) Defendant’s procedures and policies for

   complying with the Americans with Disabilities Act and Section 504 of the

   Rehabilitation Act;

(g) Award damages pursuant to Section 504;

(h) Award reasonable costs and attorneys’ fees;

(i) Award any and all other relief that this Court finds necessary and appropriate.

                                         Respectfully submitted,



                                         /s/ Mary C. Vargas
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                                         Anna Bitencourt
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                                    JURY DEMAND

   Plaintiff hereby demands that this action be tried before a jury.


                                                  s/Mary C. Vargas
                                                  Mary C. Vargas



                                             8
         Case 8:19-cv-01726-GJH Document 1 Filed 06/12/19 Page 9 of 9




Date: June 12, 2019




                                      9
